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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA
                                     Holding a Crilninal Term
                                Grand Juw Sworn in on July 9,2018

UNITED STATES OF AMERICA                          )CRIMINAL NO.
                                                          )Grand Jury Original
                  V。                         )
                                                          )VIOLAT10NS:
DAVOUD JAFARI,                                   )
        (COuntS l,3-9)                                   )COunt l:18 UoS.C.§ 371
                                                           )(COnSpiracy)
ANTHONY       ⅣIERRITT,and                           )
        (COuntS   l… 9)                              ) Count 2:18 UoS.C.§        §201(b)(2)(A)&(C),2
                                                          ) (Bribenァ )
VINCENT SLATER                                   )
        (COuntS l‐ 2,4‐ 9)                        )COunt 3:18 UoS.C.§            §201(b)(1)(A)&(C),2
                                                          ) (Bribery)
                          Defendants.                    )
                                                          )COuntS 4-6:18 UoS.C。 §  §1343,1346
                                                          )(HOnest services Wire Fraud)
                                                          )

                                                          )18 UoS.C.§ 981(a)(1)(C),28 UoS.C.
                                                          )§ 2461(c),and 21 UoS.C.§ 853(p)
                                                          )(Criminal Forfeiture)

                                            INDICTMENT
The C}rand Jury charges that:

        At an tilnes lnatcrial to this indictincnt:


                                                 Introduction

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                                  り εθげ ■                  ν′θ

        l.   The Offlcc of Tax and Rcvcnuc(OTR)was an agency ofthc goverlmcnt ofthe

E)istrict ofColumbia rcsponsible fbr thc adllninistration oflocaltaxes for individuals and busincsses.


OTRt's Compliancc Adnlinistration hostcd scvcral divisions and units, including the Collection

Division,the Audit D市 ision,and,within thc Criminal lnvestigations Division,thc Attustment

Unit.
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        2.         The mission of the Collection Division was to promptly collect the proper amount

of tax from all individuals and businesses as required by the District of Columbia. This mission

included identiffing non-filers-individuals and businesses who had a requirement to file and had

failed to do so.

        3.         The mission of the Audit Division was to obtain, maintain, and achieve tax

compliance with       all District of Columbia tax laws, except real property       taxes, through the

examination of filed tax returns, identification of non-filers, and unreported tax revenue.

        4.         The mission of the Criminal Investigations Division was to investigate potential

criminal violations of District of Columbia tax laws. In 2011, in order to limit opportunities for

comrpt employees to collude with taxpayers to engage in fraud, OTR established an Adjustment

Unit within the Criminal Investigations Division. The creation of the Adjustment Unit ended the

ability of employees in other Compliance Administration divisions to make adjustments (for

instance, transfers    of credits; abatements or waivers of penalties, fees, or interests; offsets; or

correction   of data entry errors) to taxpayer accounts. Instead, Collection and Audit Division

employees were required        to support their requests for   adjustments with documentation and

supervisory approval, and then       to submit   these materials     to Adjustment Unit employees for

consideration and further action. Adjustment Unit employees were selected because they were

proficient in the processes of the Compliance Administration.

                                        Busine s s Tax Obligations

        5.         Businesses operating in the District of Columbia were required to pay a variety   of

business-related taxes and fees, including but not limited to sales and use taxes and franchise taxes.

Food and beverages sold for immediate consumption, including meals and liquor sold on the

premises, were subject to a ten percent sales and use tax, which the business collected at the time



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of purchase and was required to remit to the D.C. government. The frequency with which a business

was required to file and pay sales and use taxes to the D.C. government was based on its revenue.

       6.       A business that did not pay its taxes on time was subject to penalties and interest.

                       OTR's Management of Delinquent Taxpayer Accounts

       7.       At the beginning of the acts described below, OTR used a computer database called

the Integrated Tax System (ITS) to manage taxpayer accounts. In or about October 2016, OTR

migrated corporate franchise tax accounts from ITS to a new computer system called the Modified

Integrated Tax System (MITS). On or about October 27,2017, OTR migrated sales and use tax

accounts to   MITS. Any OTR employee using ITS or MITS received a unique log-in, and any

adjustments made by that employee were associated with the employee's log-in and tracked.

       8.       In ITS, if a taxpayer filed a return and did not pay the amount due, the       system

automatically generated a deficiency notice and mailed it to the taxpayer. If the taxpayer still did

not pay the balance after this first notice, a second bill was sent by the system. If the second bill

remained unpaid, OTR's Collection Division was notified of the deficient tax period. A revenue

officer was then assigned the case for the specific delinquent tax period and would make contact

with the taxpayer to request payment and then take collection steps such as liens, levies,        and

garnishments. In ITS,    if   a taxpayer hled a return and did not pay the amount due, the system

automatically generated a deficiency notice and mailed it to the taxpayer. If the taxpayer still did

not pay the balance after this first notice, a second bill was sent by the system. If the second bill

remained unpaid, OTR's Collection Division was notified of the deficient tax period. A revenue

officer might then have been assigned to the case for the specific delinquent tax period and made

contact with the taxpayer to request payment and take collection steps such as liens, levies, and

garnishments.
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                                         Relevant Individuals

        9.       Defendant VINCENT SLATER was a senior revenue officer at OTR and the

supervisor of the Adjustment     Unit. As a public official, SLATER owed a fiduciary duty to the
District of Columbia, OTR, and District citizens to perform the duties and responsibilities of his

office in the best interest of OTR and the citizens of the District.

        10.      Defendant ANTHONY MERRITT was                 a former   employee    of the District of
Columbia Department        of   Consumer and Regulatory Affairs (DCRA), the District agency

responsible for, among other things, business permits and alcohol licenses. Upon separation from

DCRA in or about 2012, MERRITT held himself out as a consultant and "expediter" who, for                a

fee, could assist businesses in obtaining business permits and licenses quickly.

        11.      Defendant DAVOUD JAFARI was an owner of Gevani, Inc., which operated abar,

dance club, and restaurant in the District of Columbia under several trade names, including Zebra

Bar,Zeba Bar     & Grill,Zeba    Bar (hereinafter collectively referred to as"Zeba Bar"), from in or

about July 201   I to present. Gevani, Inc. was required   to pay sales and use taxes on a monthly basis,

including ten percent of Zeba Bar's gross receipts from the sale of food and beverages, which taxes

were collected by the business at the point of purchase on behalf of the District of Columbia.




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                                            COUNT ONE
                                   (Conspiracy-l8 U.S.C. S 371)

          12.    The allegations set for in paragraphs 1 through   1l   are re-alleged and incorporated

by reference as though fully set forth herein.

                                           The Conspiracv

          13.    From in or about October 2012 through in or about December 2017, in the District

of Columbia and elsewhere, the defendants,

                                       DAVOUD JAFARI
                                    ANTHONY MERRITT, and
                                      VINCENT SLATER,

with others known and unknown, did knowingly and unla'*fully conspire, confederate, and           agree

together and with each other to commit one or more of the following offenses against the United

States:

            a.   to directly and indirectly, comrptly give, offer, and promise anything of value to

SLATER, a public official, to influence an offrcial act and to induce such public official to do and

omit to do any act in violation of his lawful and official duty, in violation of Title 18, United States

Code, Section 201(a)(2); and

            b.   for SLATER, being a public official, to directly and indirectly, comrptly demand,

seek, receive, accept, and agree to receive and accept anything   ofvalue personally and for any other

person and entity, in return for being influenced in the performance of an official act and to be

induced to do and omit to do any act in violation of his lawful and official duty, in violation of Title

18, United States Code, Section 201(b)(2); and

           c. to devise and intend to devise and execute a scheme and artifice to defraud the
District of Columbia of money and property, and to defraud and deprive the District of Columbia,



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OTR, and District citizens of the honest services of SLATER, a public official, through bribery, in

violation of Title 18, United States Code, Sections 1343 md 1346.

                                      Purpose of the Conspiracy

          14.    It was a purpose of the conspiracy for JAFARI, MERRITT, and SLATER to enrich

themselves by paying money          to SLATER, through MERRITT, in         exchange   for SLATER's
assistance to JAFARI      in evading Gevani, Inc.'s District of Columbia tax obligations and creating

fraudulent tax credits for Gevani, Inc.

          15. It was further a purpose of the conspiracy for SLATER to enrich himself by
soliciting and accepting money from JAFARI, through MERITT, in exchange for helping JAFARI

evade Gevani, Inc.'s District of Columbia tax obligations, and for creating fraudulent tax credits

for Gevani, Inc.

                                          Manner and Means

          16.    The conspiracy was carried out through the following manner and means, among

others:

            a.   SLATER used a middleman, MERzuTT, to broker bribe agreements, collect bribe

payments, and communicate with JAFARL

            b.   JAFARI paid bribes to SLATER, through MERRITT, so that SLATER would use

his official position at OTR to comrptly assist Gevani, Inc.

            c. To evade Gevani,       Inc.'s taxes, JAFARI, MERRITT, and SLATER took             the

following steps on a monthly basis:

                 i.   JAFARI directed his accountant to prepare Gevani, Inc.'s monthly sales and use

                      tax return;




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           When Gevani, Inc's tax return was ready, JAFARI notified MERRITT and they

           agreed to meet, often at a bank;

          JAFARI signed and gave MERRITT           a check   from Gevani, Inc., made payable to

          MERRITT, in an amount equal to approximately half of what the accountant

          determined Gevani, Inc. owed        in   sales and use   taxes. JAFARI wrote false

          purposes   in the memo lines of these checks, such as "Consolting"               and

          "Promoder," to conceal that the payments were intended to influence SLATER

          to create false records showing Gevani, Inc.'s monthly tax due as being fulfilled;

    iv.   JAFARI also provided MERRITT with the sales and use tax return prepared by

           Gevani, Inc.'s accountant;

    V.    After cashing JAFARI's check, MERRITT shared the cash with SLATER and

           gave him the sales and use tax return prepared by Gevani, Inc.'s accountant; and

    vl. SLATER provided JAFARI, through MERRITT, documents fraudulently

          representing that JAFAzu had filed and paid Gevani, Inc.'s monthly sales and

          use taxes. These documents included         (l) a copy of the monthly sales and use
          tax return prepared by Gevani, Inc.'s accountant, initialed by SLATER and

           stamped or dated as if properly received by OTR, and (2) a District of Columbia

          payment posting voucher (a document that is supposed to be used only within

           OTR to indicate the debts to which a payment should be applied and which

           should not be provided to taxpayers), initialed by SLATER, that falsely indicated

          that the payment associated with the monthly return had been timely received by

          the District government.




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             d.   As opportunities arose, SLATER used his official position at OTR and knowledge

of District of Columbia tax laws, ITS, and OTR processes and procedures, and violated his lawful

and official duty to enforce District tax laws, to assist Gevani, Inc. in evading payment of its taxes,

including by:

                  i.    Intervening when other OTR employees sought to make collection efforts

                        against Gevani, Inc.; and

                  ii.   Causing the creation    of fraudulent tax credits that could be applied against

                        Gevani, Inc.'s tax liabilities.

                                                   Overt Acts

        17.       In furtherance of the conspiracy, and to effect its objects and purposes, JAFARI,

MERRITT, SLATER, and others committed the following overt acts, among others, in the District

of Columbia, and elsewhere:

                                                    June 2015

        18.       [n or about early June 2015, JAFARI provided a May sales report for Gevani, Inc.

to his accountant, and then obtained from his accountant a sales and use tax return for Gevani, Inc.'s

May 2015 tax period, calculating the amount of sales and use taxes due based on the sales report as

$6,397.52.

        19.       On or about June 8, 2015, MERRITT texted JAFARI and asked him what time he

wanted to "hook up?" JAFARI suggested noon "at the bank." MERRITT later replied,             "I will   be

there at 12:30. In traffrc. I told V we will be there at 12:45 cool?"

       20.        At approximately 12:38 p.m. on the same day, MERRITT           cashed a check   in the

amount of $3,195 from Gevani, Inc., signed by JAFARI, with the memo line, "Pormoder."




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          2l-     At approximately 12:45 p.m., SLATER scanned two documents to his work e-mail

account using OTR's computer system:       (l)   a copy of the sales and use tax return that JAFARI's

accountant had prepared, indicating that Gevani, Inc. owed $6,397.52 in sales and use taxes for the

May 2015 tax period, but bearing SLATER's initials and a date-stamp of June 20,2015, and (2) a

District of Columbia payment posting voucher, also initialed by SLATER and date-stamped June

20,2015, falsely claiming Gevani, Inc. paid $6,397.52 in sales and use taxes for the May 2015 tax

period.

          22.     After SLATER created these fraudulent documents, JAFARI kept copies of them at

ZebaBar.

                                            October 201 5

          23.     In or about early October 2075, JAFARI provided a September sales report for

Gevani, Inc. to his accountant, and then obtained from his accountant a sales and use tax return for

Gevani, Inc.'s September 2015 tax period, calculating the amount of sales and use taxes due based

on the sales report as $6,389.07.

          24.     On or about October 7,2015, at approximately 9:30 a.m., MERRITT and JAFARI

agreed by text message to meet at the bank at approximately I    l:00 a.m.

          25. At approximately 10:16 a.m., MERRITT            and SLATER had a conversation by

phone.

          26.     Shortly thereafter, at approximately 1l:10 a.m. on the same day, MERRITT cashed

a check in the amount of $3,190 from Gevani, Inc., signed by JAFARI, with the memo line,

"Promoder."

          27.     Within an hour, at approximately l1:45 a.m., SLATER browsed Gevani, Inc.'s

account in ITS.


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        28.     SLATER provided JAFARI with copies of the following fraudulent documents,

which JAFARI kept at ZebaBar:        (l)   the sales and use tax return that JAFARI's accountant had

prepared, indicating that Gevani, Inc. owed $6,389.07 in sales and use taxes for the September 2015

tax period, but bearing SLATER's initials and a date-stamp of October 20,2015, and (2) a District

of Columbia payment posting voucher, also initialed by SLATER and date-stamped October 20,

2015, falsely claiming Gevani, Inc. paid $6,389.07 in sales and use taxes for the September 2015

tax period.

                                              August 2016

        29.     In or about early August 2016, JAFARI provided a July sales report for Gevani, Inc.

to his accountant, and then obtained from his accountant a sales and use tax return for Gevani, Inc.'s

July 2016 tax period, calculating the amount of sales and use taxes due based on the sales report as

$6,795.23.

        30.     On or about August 8, 2016, MERRITT sent a text message to JAFARI, writing,

"Yo Yo GM Bro. Hope All is Well. Let me know if you want to link up today.          I'll be around all
day." MERRITT then       sent a text message to SLATER informing SLATER that he had texted

"Dave." JAFARI responded, "GM bro. Everything is good. Still waiting For the sales Tax,           I'll
call u when I get it."

        31.     The following morning, on or about August 9,2016, JAFARI sent a text message to

MERRITT, writing, "GM       bro. I got the sales Tax do u want to do it today anothere          day?"

MERRITT responded, "I'm here at DCRA want to do it now bro."

        32.     Shortly thereafter, around 12:00 p.m., MERRITT sent a text message to SLATER,

stating that he was "Bout to meet Dave."




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       33. At approximately        1:08 p.m. on the same day, MERRITT cashed a check in the

amount of $3,390 from Gevani, Inc., signed by JAFARI, with the memo line, "Piomoder."

       34.     SLATER provided copies of the following documents to JAFARI, who kept them

at Zeba Bar: (1) a copy of the sales and use tax retum that JAFARI's accountant had prepared,

indicating that Gevani, Inc. owed $6,195.26 in sales and use taxes for the July 2076 tax period, but

bearing SLATER's initials and a date-stamp of August 9,2016, and (2) a District of Columbia

payment posting voucher, also initialed by SLATER and date-stamped August 9, 2015, falsely

claiming Gevani, Inc. paid $6,795.26 in sales and use taxes for the July 2016 tax period.

       35.     Later that evening, SLATER initiated the following text message conversation with

MERRITT in which he expressed dissatisfaction with JAFARI's payment:

       SLATER:         Dave getting a lil lite

       MERRITT:        How much did you get? Fool. I didn't even count mines yet . Took
                       a quick nap


       SLATER:         He owed like 68 so that's suppose to be 34 that's 17 mines was 12

       ヽ4ERRITT:       Ok let me count mines right now hang on fool . Bc he took me this
                       time and came inside this time too . I usually meet him after at the
                       building . Hang on real quick

       MERRITT:        Mines was 1375 I'm going to let him know . Usually I count it but
                       he separated it since we went together and I usually see the paper
                       before hand that way I know?

       SLATER:         Yea he way short

                                           September 2016

       36.     In or about early September 2016, JAFARI provided an August sales report for

Gevani, Inc. to his accountant, and then obtained from his accountant a sales and use tax retum for

Gevani, Inc.'s August 2016 tax period, calculating the amount of sales and use taxes due based on

the sales report as $6,417.89.
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       37.      On or about September 6, 2016, SLATER and MERRITT had a conversation

through text messages regarding JAFARI:

       SLATER:          Ok I'm sure Dave bout to be up

       MERRITT:         Yea man that need to be this week SHIT. Also I'm bout to start
                        taking a pic of them checks before I cash them bc I don't he could
                        writing any number in there

       SLATER:          Tru . . . I'm only there tomorrow & Friday

       MERRITT:         Ok I'm on it

       SLATER:          Ok

       38.      The following morning, on or about September 7,2016, MERRITT initiated the

following text message conversation with SLATER:

       MERRITT:         Be around we on for tomorrow with Dave. I need him this week bra. Had a
                        lot to do for Moms and my son mother

       SLATER:          I'm off tomorrow t. . . .]

       SLATER:          Be back Friday

      MERRITT:         Ok I guess we ain't got no choice but to wait til Friday

       39.      In the morning on or about September 9, 2016, JAFARI sent MERRITT a text

message,   "GM bro. still waiting. They said very Busy. But I will let u know if I get it today."

       40.      Immediately after he received the message from JAFARI, MERRITT started the

following conversation through text messages with SLATER:

      MERRITT: GM bro. still waiting.            They said very Busy. But I let u know if i get
                       It today

      MERRITT:         That's what Dave just texted

      SLATER:          Ok that's fine

      MERRITT: I hope he hurry up Rough month so far


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       41.       At approximately I l:48 a.m. the same day, JAFARI sent MERRITT              a   text message,

writing, "Got   it."   MERRITT responded, "Ok bro. what time you want to meet up?" JAFARI and

MERRITT agreed to meet at 1:30 p.m. Within          a    minute, MERRITT and SLATER exchanged the

following messages:

       MERRITT: Yo Yo Dave just hit me.              You Ready      ?


       SLATER:            Yea

       MERRITT:           He said l:30 so let's 2:00 sharp

       SLATER:            Ok

       MERRITT:           Bet

       SLATER:            Make it2i30 had to run out

       MERRITT: I think he said he has to go back to the rest. Quick               bc it's Friday
                          and he has a delivery

       42. At approximately 1:37 p.m. on the same day, MERRITT cashed a check in the
amount of $3,200 from Gevani, Inc., signed by JAFARI, with the memo line, "Promoder."

       43.      At approximately 2:16 p.m., SLATER          sent   MERRITT   a   text message, writing, "On

myway..."
       44.      SLATER provided JAFARI with copies of the following fraudulent documents,

which JAFARI kept at ZebaBar:         (l)   the sales and use tax return that JAFARI's accountant had

prepared, indicating that Gevani, Inc. owed $6,417.89 in sales and use taxes for the August 2016

tax period, but bearing SLATER's initials and a date-stamp of September 20, 2076, and (2)                    a

District of Columbia payment posting voucher, also initialed by SLATER and date-stamped

September 20,2016, falsely claiming Gevani, Inc. paid $6,417.89 in sales and use taxes for the

August 2016 tax period.



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                                                May 2017

           45.       On or about May 16, 2017, JAFARI sent MERRITT a text message asking, "Hey

bro. U have      a   mint I have to talk to u about tax." JAFARI then sent MERRITT   a   text containing

a photograph     of a Notice of Failure to File Tax Returns, addressed to Gevani, Inc, advising that

OTR's records indicated that Gevani, Inc. had not filed sales and use returns for periods in 201 1,

2072,2073,2014,2015,2076, and2017, as well as corporate franchise taxes in 2016. Stapled to

the Notice was the card and contact information of an OTR Revenue Officer in the Collection

Division.

           46.       The following day, on or about May 17,2017, SLATER browsed Gevani, Inc.'s

account in ITS, and SLATER and MERRITT communicated by telephone.

           47.       In or about late May 2017, SLATER called the OTR Revenue Officer assigned to

Gevani, Inc.'s account into his off,rce. SLATER represented to the OTR Revenue Officer that

SLATER was in direct contact with Gevani, Inc., told the OTR Revenue Officer that SLATER

would look into Gevani, Inc.'s account, and agreed that the OTR Revenue Officer should cease

further collection efforts until SLATER had completed his review.

           48.       On or about June 4, 2017, MERRITT texted JAFARI, 'oAlso V talked to the guy.

Your good."

                                            September 2017

           49.       On or about September 5,2017, MERzuTT sent JAFARI a text message, writing,

"Hey bro Hope All Is Well. V just texted me and said he will be off on Thursday thru all of next

week. Bc ofthe new system they getting. It starts tomorrow. He said just let you know?" JAFARI

replied,   "Ok. Bro. I'll call my bookkeeper to speed   up n get   it faster."




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          50.   The following day, on or about September 6,2017, JAFARI wrote to MERRITT,

"GM bro. I just text my bookkeeper n ask if I can get it today. So I'm waiting on there behalf."

MERRITT responded, No biggie I already told V." JAFARI then asked, "Do u have my last mouth

sales   tax?" MERRITT replied, "Yes V has it, It's been stamped by him."

         51.    Later that same day, JAFARI texted MERRITT, "Got the sales tax," and JAFARI

and MERRITT agreed to meet at the bank.

         52.    At approximately 72:33 p.m. on the same day, MERRITT            cashed a check   in the

amount of $4,370 from Gevani, Inc., signed by JAFARI, with the memo line, "Promoder."

         53.    SLATER created the following fraudulent documents, which JAFARI kept atZeba

Bar: (1) a copy of the sales and   use tax return that   JAFARI's accountant had prepared, indicating

that Gevani, Inc. owed $7,932.29 in sales and use taxes for the July 2017 tax period, but bearing

SLATER's initials and the date "9-6-17," (2) a copy of the sales and use tax return that JAFARI's

accountant had prepared, indicating that Gevani, Inc. owed $8,746.06 in sales and use taxes for the

August 2017 tax period, but bearing SLATER's initials and the date "9-6-17," and (3) a payment

posting voucher, also initialed by SLATER and dated "9-6-17," falsely claiming Gevani, Inc. paid

$7,932.29 in sales and use taxes for the July 2017 tax period, and $8,746.06 for the August 2017

tax period.

        SLATER'S Other Acts, as Opportunities Arose, on Behalf of JAFARI'S Business

         54.    On or about December 7, 2012, SLATER caused a note to be entered in ITS

regarding JAFARI's business, Gevani, Inc., falsely stating that the business did not owe sales and

use taxes prior to November 2011 when,      in fact, Gevani, Inc, had been operating Zeba Bar in the

District of Columbia since in or around July 2011, and should have paid sales and use taxes on       a

monthly basis starting then.


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        55.    On or about October 25,2077, two days before OTR was scheduled to migrate sales

and use taxpayer accounts from ITS to MITS, SLATER caused the creation of four fraudulent tax

credits totaling $13,641.89 in the only tax periods for which Gevani, Inc. had ever paid sales and

use taxes (four months in 20 1 1 and early 2012), and then caused the four fraudulent tax credits to

be forwarded to Gevani, Inc.'s December 2014 tax period, thus ensuring that they would be carried

over to pay liabilities of Gevani, Inc. after the migration of Gevani, Inc.'s sales and use tax account

to MITS.

                                     SLATER's Cash Deposits

        56.    Between November 2013 and October 2017, SLATER made at least 114 cash

deposits into his bank accounts at TD Bank and Industrial Bank, totaling $86,726.56. At least 60

of the deposits were made in amounts of $500 or more, totaling 575,202.

                     (ln violation of Tile 18 United States Code, Section 371.)




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                                        COUNT TWO
                             (Bribery-l8 U.S.C. S$ 201(b)(2) and2)
        57.    Paragraphs 1 through 11 and paragraphs 17 through 56 of this Indictment are re-

alleged and incorporated as though set for herein.

       58.     From in or about October 2012, through in or about December 2077, in the District

of Columbia and elsewhere, the defendant,

                                       VINCENT SLATER,

being a public official, aided and abetted by defendant ANTHONY MERRITT, did, directly and

indirectly, comrptly demand, seek, receive, accept, and agree to receive and accept anything of

value personally and for another person, in return for SLATER being influenced in the performance

of any official act and being induced to do and omit to do any act in violation of his lawful and

official duty; that is, SLATER, aided and abetted by MERRITT, sought and received money from

JAFARI in return for SLATER being influenced in the performance of official acts and being

induced to violate lawful and official duties to OTR by helping JAFARI's business, Gevani, Inc.,

evade its tax obligations to the District   of Columbia and creating fraudulent tax credits to pay

Gevani, Inc.'s tax obligations to the District of Columbia as opportunities arose.

        (In violation of Title 18, United States Code, Sections 201(bX2)(A) & (C) and2.)




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                                       COUNT THREE
                             (Bribery-l8 U.S.C. $$ 201(bxl) and 2)
        59.    Paragraphs   I through 1l and paragraphs     17 through 56   of this Indictment are re-

alleged and incorporated as though set for herein.

       60.     From in or about October 2012, through in or about December 2017, in the District

of Columbia and elsewhere, the defendant,

                                        DAVOUD JAFARI,

aided and abetted by defendant   ANTHONY MERRITT, directly and indirectly, corruptly did give,

offer, and promise anything of value to a public official with the intent to influence any official act

and to induce such public official to do and omit to do any act in violation of his lawful and   official

duty; that is, JAFARI, aided and abetted by MERRITT, paid SLATER money to help JAFARI's

business, Gevani, Inc., evade taxes and create fraudulent tax credits to pay Gevani, Inc.'s tax

obligations to the District of Columbia, as opportunities arose.

        (ln violation of Title 18, United States Code, Sections 201(b)(1)(A) & (C) and2.)




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                                  COUNTS FOUR THROUGH SIX
      (R40ney,Property,and Ⅱonest Services Wire Fraud一 -18 UoSoC.§ §1343 and 1346)

         61.      Paragraphs l through ll and paragraphs 17 through 56 of this lndictincnt are re―

allcged and incorpOrated as though sct fbrth herein.


         62.      From in or about Octobcr 2012,through in or about Deccmber 2017,in thc District

of Columbia and clscwhere,the dcfcndants,

                                         DAVOUD JAFARI
                                     ANTHONY MERRITT,and
                                        VINCENT SLATER,
did dcvise and intcnd to dcvisc a scheme and artiflce to defraud the District of Columbia ofrnOncy

and property,and to dcfraud and dep五 vc OTR and thc District ofColumbia and its citizcns Oftheir

intangible right to SLA「 FER's honest services through bribery and kickbacks.


         63.     On or about the dates speciflcd as to cach count below,in the District of Columbia

and clsewhere,for the purposc of executing and attempting tO execute this schcme and artiflce to

defraud,thc defendants and others did knowingly and willillly translnit and cause tO bc translnitted,


by rncans of wirc communication in intcrstate and forcign commercc,certain writings,signs,

signals,pictures,and sounds;that is,by cashing the followlng checks in the District of Columbia,

thc defendants caused an intcrstate wire to bc translnittcd to or from the District of Columbia:


 Count         Datc           Description of Wire

4              9/9/2016       Check #4394 from Gevani, Inc. to Anthony Merritt

5              5/10/2017      Check #4984 from Gevani, Inc. to Anthony Merritt

6              9/5/2017       Check #5242 from Gevani Inc. to Anthony Merritt



                 (In violation of Title 18, United States Code, Sections 1343 and 1346.)




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                               CRIIⅥ INAL     FORFEITURE ALLEGAT10N
         64.    Upon conviction ofany ofthe offcnscs alleged in Count One through COunt Nine of

this lndictment,thc dcfcndants,

                                             DAVOUD JAFARI,
                                          ANTHONY MERRITT,and
                                            VINCENT SLATER,
shall forfeit to the l」   nited States any propcrty,rcal or personal,which constitutcs or is derivcd from

procecds traceable to thcsc offcnses,pursuallt to Title 18 United States Code,Section 981(a)(1)(C)

and Title 28,United Statcs Codc,Section 2461(c).The united States will alsO seek a forfciture

moneyjudgment against the defendants equalto the valuc ofany property,real or pcrsOnal,which

constitutes or is derived from procccds traceable to thcsc offenscs.


         65. If any ofthe property describcd above as bcing sutteCt tO forfeiturc,as a rcsult of

any act or ornission ofthe dcfcndants:

                  ao       cannot be locatcd upon thc cxcrcise of due diligcncc;

                  b.       has becn transfclTcd or sold to,or depositcd with,a third party;

                  c.      has been placed beyond thejllrisdiction ofthe Court;

                  d.      has been substantially diininishcd in value;or

                  e.        has been corrmingled、 vith other property that cannot bc dividcd without

                            difflculty,




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the defendants shall forfeit to the United States any other property of the defendants, up to the value

of the property described above, pursuant to Title 21, United States Code, Section S53(p).

  (Criminal Forfeiture, pursuant to Title 18, United States Code, Section 981(a)(1)(C), Title 28,
    United States Code, Section 2461(c), and Title 21, United States Code, Section 853(p)).




                                                      A TRUE BILL:


                                                      FOMPERSON

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and for the District of Columbia




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